      Case 4:22-cr-00612     Document 698        Filed on 04/07/25 in TXSD       Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 UNITED STATES OF AMERICA

 v.

 EDWARD CONSTANTINESCU,                             No. 4:22-CR-00612-S
 PERRY “PJ” MATLOCK,
 JOHN RYBARCZYK,
 GARY DEEL,
 STEFAN HRVATIN,
 TOM COOPERMAN,
 MITCHELL HENNESSEY,
 DANIEL KNIGHT.


                   MOTION TO WITHDRAW AS COUNSEL OF RECORD

         The undersigned attorney, Jamie Hoxie Solano, Esq., respectfully submits this motion for

leave to withdraw as an attorney of record on behalf of defendant Edward Constantinescu. This

request is specific to the undersigned (not the firm) and is being made because the undersigned is

joining a different law firm. Attorney Matthew Ford will remain lead counsel of record on behalf

of Mr. Constantinescu. A proposed order granting this request is enclosed.

Dated: April 7, 2025

                                                      Respectfully submitted,


                                                      /s/ Jamie Hoxie Solano
                                                      Jamie Hoxie Solano
                                                      Admitted Pro Hac Vice




                                                1
   Case 4:22-cr-00612       Document 698        Filed on 04/07/25 in TXSD        Page 2 of 2




                                 CERTIFICATE OF SERVICE
       I hereby certify that on April 7, 2025, a true and correct copy of the foregoing document
has been electronically served on all counsel of record via the Court’s CM/ECF system.

                                                     /s/ Jamie H. Solano
                                                    Jamie H. Solano




                                                2
